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1                           DECLARATION OF ANNA G. KAMINSKA
2           I, Anna G. Kaminska, declare and state as follows:

3           1.    I am a Trial Attorney at the U.S. Department of Justice,

4     Criminal Division, Fraud Section and am assigned to the prosecution

5     of United States v. Heon Cheol Chi, CR No. 16-824(A)-JFW.            I make

6     this declaration in support of the Government’s Reply to Defendant’s

7     Response to Government’s Sentencing Position.

8           2.    Exhibit P to this declaration is a true and accurate copy

9     of Gov’t Trial Exhibit 90, an email from defendant to representatives

10    of Guralp Systems Limited (“Guralp”) dated June 20, 2005, which was

11    admitted into evidence at trial on July 13, 2017.

12          3.    Exhibit Q to this declaration is a true and accurate copy

13    of Gov’t Trial Exhibit 113, an email from defendant to a

14    representative of Guralp dated February 13, 2008, which was admitted
15    into evidence at trial on July 12, 2017.
16          4.    Exhibit R to this declaration is a true and accurate copy
17    of Gov’t Trial Exhibit 167, an email from defendant to a
18    representative of Guralp dated October 17, 2014, which was admitted
19    into evidence at trial on July 13, 2017.

20          5.    Exhibit S to this declaration is a true and accurate copy

21    of Gov’t Trial Exhibit 245, an email from defendant to a

22    representative of Kinemetrics, Inc. dated June 2, 2016, which was

23    admitted into evidence at trial on July 13, 2017.

24          I declare under penalty of perjury under the laws of the United

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1     States of America that the foregoing is true and correct and that

2     this declaration is executed at Washington, D.C. on September 25,

3     2017.

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5                                              /s/
                                               ANNA G. KAMINSKA
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